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 8                         UNITED STATES DISTRICT COURT
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                        SOUTHERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                     Case No. 20-cr-02917-AJB
11
                                                   ORDER AND JUDGMENT
12                                                 GRANTING UNITED STATES’
            v.                                     MOTION TO DISMISS
13
14   ANGEL CISNEROS-DELGADO,
15                Defendant
16
17         GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that the complaint shall
18 be dismissed against ANGEL CISNEROS-DELGADO without prejudice.
19         IT IS FURTHER ORDERED bond is exonerated. Defense Counsel must prepare
20 an order to disburse funds or release collateral.
21
           IT IS SO ORDERED.
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     Dated: October 15, 2020
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